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In the Anited States District Court
for the Southern District of Georgia
Waycross Division

BRANTLEY COUNTY DEVELOPMENT
PARTNERS, LLC.

Plaintiffs,
Vv. CV 519-109

BRANTLEY COUNTY, GEORGIA, et al

Defendants
ORDER
The above captioned case filed in the Waycross Division of
this Court was previously assigned to the undersigned.
IT IS HEREBY ORDERED that this case is reassigned to the

Honorable Chief Judge J. Randal Hall for further plenary

disposition.

SO ORDERED, this Z@ lof July, 2

HOY. LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
